Case 5:20-cr-40012-TC Document 26 Filed 05/03/21 Page 1 of 8




                   In the United States District Court
                        for the District of Kansas
                              _____________

                         Case No. 20-cr-40012-TC
                             _____________

                       UNITED STATES OF AMERICA,

                                    Plaintiff

                                       v.

                            ROBERT L. COOPER,

                                   Defendant
                              _____________

                   MEMORANDUM AND ORDER

        Robert L. Cooper is charged with one count of aggravated sexual
   abuse under 18 U.S.C. § 2241(c) and one count of abusive sexual con-
   tact under 18 U.S.C. § 2241(a)(1). Doc. 1 at 1–2. Cooper moves to
   suppress photographed text messages, evidence from pretextual phone
   calls, and statements made to law enforcement. Doc. 14. For the fol-
   lowing reasons, the Motion is denied.

                                   I

                                   A

       In 2016, Cooper was married to Master Sergeant Megan Browning,
   an active duty soldier, and living in her home on the Fort Riley Military
   Installation, Ft. Riley, Kansas. Tr. 1:4:9–22. While Browning was de-
   ployed overseas, Cooper remained in her home with her three daugh-
   ters. Tr. 1:8:17–9:5, 1:35:8–10.

       After Browning returned from her deployment, Cooper and
   Browning’s marriage deteriorated. They ultimately divorced in July
   2017. Tr. 1:19:17–22. Shortly thereafter, one of Browning’s daughters,
   K.B., informed Browning via text that—while Browning was de-
   ployed—Cooper sexually abused her in the bed that Cooper and
   Browning had shared. Ex. 7. Browning reported her daughter’s




                                       1
Case 5:20-cr-40012-TC Document 26 Filed 05/03/21 Page 2 of 8




   allegations to law enforcement. Tr. 1:4:24–25. U.S. Army investigators
   intervened and investigated because the alleged abuse took place on
   the Fort Riley base. See 18 U.S.C. § 7(3). The grand jury returned a two-
   count indictment against Cooper on March 4, 2020. Doc. 1.

                                   B

       Cooper moves to suppress evidence gathered during the investiga-
   tion. Doc. 14. The following is a summary of the underlying facts that
   are relevant to Cooper’s arguments and supported by the testimony
   and evidence submitted at the April 7, 2021, evidentiary hearing.

       1. Cooper seeks to suppress two sets of images of text message
   exchanges between Browning and K.B. that were discovered during
   the criminal investigation. Doc. 14 at 1, 10–11. These images are
   screenshots of those text discussions. See, e.g., Ex. 7.

        Investigators collected the first set of photographs the day after
   Browning reported the allegations. Doc. 14 at 3. During this interview,
   investigators requested to conduct a “logical extraction” of Browning’s
   phone data. Doc. 16 at 2; Tr. 1:44:8–9. Browning initially consented,
   but later revoked consent after waiting a few hours. Tr. 1:40:2–9. The
   Government estimated the process could take as long as 24 hours, and
   Browning explained that she was in the process of moving to another
   city and could not be without her phone for that period of time. Doc.
   14 at 4; Tr. 1:39–40. In light of her revoked consent, investigators in-
   stead took screenshots of the text messages between K.B. and Brown-
   ing that detailed the alleged abuse and returned the phone to Brown-
   ing. Tr. 1:40:2–9; see Ex. 7.

       The second set of photographs were taken almost a year later when
   Browning constented to investigators extraction of data from K.B.’s
   phone. Tr. 1:79:7–13. Her consent was limited to the images on K.B.’s
   phone, which included screenshots of K.B.’s text messages to Brown-
   ing alleging Cooper’s sexual abuse. Doc. 14-2.

       There is no evidence (or argument) that the investigators ever
   downloaded those messages in their native format from the subject
   phones and saved them onto a government device. See Doc. 14 at 4, 5;
   Tr. 1:39:13–40:25, 1:44:1–2. Additionally, neither the Government nor
   Cooper have ever sought to subpoena or otherwise retrieve that infor-
   mation directly from either Browning’s or K.B.’s phones. Tr. 1:65:1–




                                       2
Case 5:20-cr-40012-TC Document 26 Filed 05/03/21 Page 3 of 8




   12. Instead, the question is whether the evidence available to the par-
   ties—i.e., the screenshots of the texts—should be suppressed.

        2. Cooper also seeks to suppress the contents of pretextual phone
   calls. In particular, U.S. Army investigator Agent Lisa Medrano en-
   couraged Browning to call Cooper to confront him about K.B.’s claims
   while Medrano listened. Medrano took notes of the calls but did not
   otherwise record it. Tr. 1:6:23–25. According to Medrano, she did not
   record the call because government regulation required prior approval
   for recording, and she chose not to go through the hassle of seeking
   such approval. Tr. 1:14:3–9. Instead, Medrano prepared a formal re-
   port from the notes she took. Tr. 1:6:23–1:7:17. Both those notes and
   her report have been produced to Cooper. Exs. 5 & 5A.

       3. Finally, Cooper contends that his statements to investigators
   were involuntary. Doc. 14 at 15–16 (citing Jackson v. Denno, 378 U.S.
   368, 376 (1964)). During the Government’s investigation, investigators
   sought to interview Cooper. See generally Ex. 10. Cooper agreed to meet
   a U.S. Army investigator, Agent David Ellis, at the Riley County Police
   Department in Manhattan, Kansas. Tr. 1:46–47. The entire interview
   was recorded, and the parties submitted a video recording of that in-
   terview without objection at the suppression hearing. See Ex. 10.

        In the video, Ellis and Cooper appear in an interview room seated
   at a table. Ex. 10. at 5:48. Cooper is in his own clothing, unrestrained,
   and is seated near the door with no obstructions preventing his depar-
   ture. Id. Before Ellis began asking Cooper questions, Ellis not only
   provided Cooper with a form that advised Cooper that he was being
   questioned about sexual abuse of a child, detailed his rights, including
   the familiiar Miranda warnings, and noted that he was free to leave or
   discontinue the interview, but he also verbally explained those items to
   Cooper. Id. at 17:22–21:23. Cooper signed the certificate after Ellis’
   explanation, acknowledging that he understood his rights and was
   choosing to speak with Ellis about the allegations against him. Id. at
   21:30–1:15:55; see Ex. 9.

       The interview began cordially but eventually turned to Cooper’s
   relationship with K.B. and Browning, as well as K.B.’s allegations. Ex.
   10 at 21:30–1:15:55. About an hour into the interview, Ellis started to
   ask about statements Cooper made in the pretextual phone calls with
   Browning. Id. at 1:15:12–53. In response, Cooper invoked his right to
   an attorney. Id. at 1:15:55. Ellis immediately ceased his questioning and
   logged the time. Id. at 1:15:58–16:17. Ellis then explained to Cooper




                                      3
Case 5:20-cr-40012-TC Document 26 Filed 05/03/21 Page 4 of 8




   he was not under arrest and walked Cooper out of the station. Id. 10
   at 1:22:50–24:00.

                                    II

        Cooper’s motion to suppress makes three essential arguments. He
   first contends that the screenshots and information from the pre-
   textual phone calls should be suppressed because of how the Govern-
   ment perserved (or failed to preserve) the information. He next con-
   tends that the screenshots are separately improper because admitting
   them would violate the best-evidence rule. And finally, he contends
   that statements he made during the investigation were involuntary. As
   discussed in greater detail, all three arguments fail.

                                      A

       Cooper asserts that the Government’s preservation of the text
   messages by use of screenshots and failing to make an audio recording
   of the pretextual phone calls violated his due process rights under the
   Fifth Amendment. Doc. 14 at 6. That argument is rejected.

        The Due Process Clause obligates the Government to both pre-
   serve and provide exculpatory evidence to a criminal defendant. See
   generally Brady v. Maryland, 373 U.S. 83, 87 (1963). Failure to preserve
   evidence violates due process if the evidence was exclupatory and its
   exculpatory value was apparent before its loss—at least where the evi-
   dence was of such a nature “that might be expected to play a significant
   role in the suspect’s defense.” California v. Trombetta, 467 U.S. 479, 488–
   89 (1984). “If, however, the exclupatory evidence was not apparently
   exclupatory but merely ‘potentially useful,’ the failure to preserve the
   evidence does not violate due process ‘unless [the] criminal defendant
   can show bad faith on the part of the police.’” United States v. Harry,
   816 F.3d 1268, 1276 (10th Cir. 2016) (quoting Arizona v. Youngblood,
   488 U.S. 51, 58 (1988)).

       Cooper’s motion fails for several reasons. For one thing, it is not
   entirely clear that the evidence was lost or is currently missing. The
   agents testified that investigators obtained a screenshot of Browning’s
   phone in July 2017 and then obtained similar screenshots of K.B.’s
   phone approximately one year later. At the suppression hearing, there
   was no indication that, even today, any of these phones (or their con-
   tents) have been lost or are not currently available through subpoena.




                                         4
Case 5:20-cr-40012-TC Document 26 Filed 05/03/21 Page 5 of 8




       For another, Cooper’s concern appears to be the manner and me-
   dium in which the Government chose to preserve the information. In
   other words, rather than taking screenshots and handwritten notes
   during the phone calls (that he participated in), Cooper wishes the
   Government had downloaded the text message history between
   Browning and K.B. and obtained the authority to get an audio record-
   ing of the calls. Doc. 14 at 4, 9–10. Yet, Cooper provides no authority
   suggesting that due process requires these particular investigative tech-
   niques.

        And, most importantly, Cooper has not shown that the evidence
   was apparently exculpatory. But see Harry, 816 F.3d at 1276 (noting de-
   fendant bears the burden of showing missing evidence was known by
   the Government to be exculpatory). Rather, the testimony and argu-
   ment presented at the hearing suggests that, at best, the native text
   message format and an audio recording might have been exculpatory.
   Even that is a stretch, at least with regard to the phone calls, as Cooper
   did not argue any inconsistency between the notes and report that
   Medrano made of the calls and his recollection of it. Nonetheless,
   Cooper’s speculation and conjecture of what might have been shown
   fails to demonstrate apparent culpability. See id. at 1278.

       Youngblood teaches that the loss of potentially useful information
   can be a due process violation if the criminal defendant can show gov-
   ernment agents acted in bad faith. 467 U.S. at 58. Even assuming the
   potentially useful information he seeks is unavailable, Cooper makes
   no claim that bad faith was at work here. Doc. 17 at 3; Tr. at 1: 67:8–
   20. The investigators testified as to what they did and why. Tr. 1:3:10–
   1:46:7. There was no suggestion, even on cross-examination, that any-
   thing untoward was afoot. As a result, Cooper’s claim fails.

                                     B

       Cooper also seeks a ruling that the Government cannot use the
   text message screenshots because doing so violates the best-evidence
   rule. Doc. 14 at 12–14 (referring to Fed. R. Evid. 1002). That argu-
   ment, too, fails.

        Under Rule 1002, “[a]n original writing, recording, or photograph
   is required in order to prove its content unless these rules or a federal
   statute provides otherwise.” There are, however, several exceptions.
   For example, Fed. R. Evid. 1003 provides that “[a] duplicate is admis-
   sible to the same extent as the original unless a genuine question is




                                       5
Case 5:20-cr-40012-TC Document 26 Filed 05/03/21 Page 6 of 8




   raised about the original's authenticity or the circumstances make it
   unfair to admit the duplicate.” Additionally, an original is unnecessary
   and other evidence is admissible to prove the contents of a writing,
   recording, or photograph under Fed. R. Evid. 1004(a) if “all the origi-
   nals are lost or destroyed, and not by the proponent acting in bad
   faith.”

        Both exceptions undermine Cooper’s best-evidence argument. In
   particular, Rule 1003 permits the photographs because Cooper does
   not dispute the screenshots’ authenticity or identify any circumstances
   that would make it unfair to admit them. United States v. Phillips, 543
   F.3d 1197, 1204 (10th Cir. 2008) (upholding admission of duplicated
   documents because the defendant failed to challenge authenticity when
   admitted). Accepting Cooper’s proposition that the original text mes-
   sages have been lost, Rule 1004 would still permit the screenshots’ in-
   troduction because, as noted in Part II.A. supra, there is no evidence
   that investigators lost or destroyed the text messages on Browning’s or
   K.B.’s phones in bad faith. United States v. Shoels, 685 F.2d 379, 384
   (10th Cir. 1982) (affirming admission of photographed checks because
   there was no bad faith on part of the government); United States v. Bur-
   nett, Case No. 98-6224, 1999 WL 569055, at *5 (10th Cir. 1999) (up-
   holding admission of duplicates absent any evidence or suggestion that
   the police destroyed documents in bad faith). Thus, Cooper’s request
   to exclude the text message screenshots is denied.

                                    C

        Finally, Cooper challenges the voluntariness of his statements (pre-
   sumably, though it is not entirely clear, from both his interview with
   Ellis and the pretextual calls with Browning). Doc. 14 at 15–16 (invok-
   ing his right to a hearing under Jackson v. Denno, 378 U.S. 368 (1964)
   and 18 U.S.C. § 3501(a)). Based on the testimony adduced, exhibits
   admitted, and the arguments advanced, there is no basis to believe
   Cooper’s statements were anything but voluntary.

       A defendant’s statements or confessions must be the product of
   his or her own “free and unconstrained choice.” Culombe v. Connecticut,
   367 U.S. 568, 602 (1961); see also Schneckloth v. Bustamonte, 412 U.S. 218,
   225–26 (1973). When a defendant challenges the voluntariness of his
   statements, the government bears the burden of showing, by a prepon-
   derance of the evidence, that the confession was voluntary. United
   States v. Lopez, 437 F.3d 1059, 1063 (10th Cir. 2006). Voluntariness is
   determined by the totality of the circumstances. Id. Such factors




                                        6
Case 5:20-cr-40012-TC Document 26 Filed 05/03/21 Page 7 of 8




   include: (i) the age, intelligence, and education of the defendant; (ii) the
   length of detention; (iii) the length and nature of questioning; (iv)
   whether the defendant was advised of his constitutional rights; and (v)
   whether the defendant was subjected to physical punishment. Id.
   (quoting United States v. Toles, 297 F.3d 959, 965–66 (10th Cir. 2002)).

        The Government has shown that Cooper’s statements to law en-
   forcement were voluntary. Cooper was not arrested or in custody be-
   fore, during, or immediately after the interview. Instead, he agreed to
   meet Ellis at the Riley County Police Department. Tr. at 1:46–47.
   Cooper was an educated adult at the time of the interview. Ex. 10 at
   11:53–13:50. Based on the video, Cooper appears alert and healthy and
   at no time discusses any health concerns. See generally id. Ellis properly
   informed Cooper of his constitutional rights before Cooper signed a
   rights waiver, indicating that he wished to proceed with the interview.
   Id. at 21:23–30; Ex. 9. The interview lasted approximately 75 minutes
   and immediately stopped when Cooper invoked his right to counsel,
   Ex. 10 at 1:15:55–16:17, at which point he was free to leave, id. at 1:23–
   24. These circumstances show Cooper’s statements were voluntarily
   made. See, e.g., United States v. Smith, 606 F.3d 1270, 1275–77 (10th Cir.
   2010) (affirming statements were voluntarily made by a 21-year-old de-
   fendant with some high school education after having been in custody
   for over three hours).

        To the extent Cooper challenges the voluntariness of his state-
   ments during the pretextual calls, the Government has also satisfied its
   burden to establish their voluntariness. When Browning first called,
   Cooper did not answer. Tr. 1:9:22–10:8. Cooper called Browning back,
   and the phone call lasted 25 to 30 minutes. Tr. 1:10:10. Browning hung
   up on Cooper, and Cooper again called Browning back. Tr. 1:10:11–
   22. This phone call lasted only 12 to 14 mintues. Tr. 1:10:25. Cooper
   was not informed of his rights, but doing so was unnecessary because
   he was not in custody. Tr. 1:5:10–11, 1:9:5–9; United States v. Goebel, 959
   F.3d 1259, 1269 (10th Cir. 2020) (“A Miranda warning is required only
   when a defendant is in custody.”). Accordingly, Cooper’s statements
   made during the phone calls to Browning were voluntary. See, e.g., Goe-
   bel, 959 F.3d at 1268–69 (finding defendant’s statements made to an
   officer on the sidewalk voluntary because he was not in custody).

                                    III

       Cooper’s Motion to Suppress (Doc. 14) is DENIED.




                                          7
Case 5:20-cr-40012-TC Document 26 Filed 05/03/21 Page 8 of 8




      IT IS SO ORDERED.



   Date: May 3 2021              s/ Toby Crouse
                                 Toby Crouse
                                 United States District Judge




                             8
